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   United States of America
 7

 8                                 IN THE UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,                        CASE 2:03-CR-00371-MCE-EFB

11                         Respondent,                STIPULATION AND
                                                      [PROPOSED] ORDER RE: BRIEFING SCHEDULE
12                            v.
                                                      DATE: N/A
13   KENNETH D. RODGERS,                              TIME: N/A
                                                      COURT: Hon. Edmund F. Brennan
14                         Movant.

15

16          The United States and Defendant/Petitioner Kenneth D. Rodgers, by and through their attorneys,
17 hereby stipulate to amend the previously ordered briefing schedule (see ECF 1080) as follows: the

18 government’s response shall be filed no later than June 5, 2017; and an optional reply shall be filed no

19 later than July 5, 2017.

20          Respectfully submitted,

21          Dated: May 15, 2017                        Dated: May 15, 2017

22          PHILLIP A. TALBERT                         HEATHER E. WILLIAMS
            United States Attorney                     Federal Defender
23
            /s/ Ross K. Naughton                       /s/ Carolyn M. Wiggin
24          ROSS K. NAUGHTON                           CAROLYN M. WIGGIN
            Assistant U.S. Attorney                    Assistant Federal Defender
25          Attorney for Plaintiff/Respondent          Attorney for Defendant/Petitioner
            UNITED STATES OF AMERICA                   KENNETH D. RODGERS
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     STIPULATION AND [PROPOSED] ORDER
     RE: BRIEFING SCHEDULE FOR
     KENNETH D. RODGERS
          Case 2:03-cr-00371-JAM-EFB Document 1082 Filed 05/17/17 Page 2 of 2

 1                                                   ORDER
 2          Pursuant to the parties’ stipulation, and good cause appearing, the previously ordered briefing

 3 schedule (see ECF 1080) is hereby AMENDED as follows: the government’s response shall be filed no

 4 later than June 5, 2017; and an optional reply shall be filed no later than July 5, 2017.

 5          SO ORDERED on May 17, 2017.

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 7                                                Hon. Edmund F. Brennan
                                                  United States Magistrate Judge
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     STIPULATION AND [PROPOSED] ORDER
     RE: BRIEFING SCHEDULE FOR
     KENNETH D. RODGERS
